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April 7, 2021
To Whom it May Concern,

| am writing this letter on behalf of Jufian Khater, whom | have known since
he was born. | am 4 close friend of the family, and for many years a
frequent quest at their home as all the boys were growing up. | always
thought of Julian as a shy, quiet, gentle boy. He was always well behaved,
considerate of others, attentive to the younger children, and a helper
around the house.

Of course | was completely shocked when | heard about his recent arrest
as well as the idea of him being involved in anything violent, which totally
defies. the young man | have known him to be. | merely would like to attest
to his good character, and that while we may not all have agreed politically
on certain issues, | find it very hard to accept what he is being accused of,
as it truly defies the Julian that | know.

Please do not hesitate to contact me if you should need further
information.

Sincerely,
Alissa Latner

Closter Councilwoman

   

 

 
